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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF OKLAHOMA

 

 

UNITED STATES OF AMERICA
)
VS. )
) Case Number:_M-20-117-P
)
)
)
JORGE LUIS MATA Charging District: Southern District of Texas (Brownsville)
Defendant )

Charging District's Case Number:_CR-19-185-2

COMMITMENT TO ANOTHER DISTRICT

 

 

The defendant has been ordered to appear in the: Southern District of Texas (Brownsville)

The defendant may need an interpreter for this language:

 

The defendant: ([] will retain an attorney.
is requesting court-appointed counsel.

The defendant remains in custody after the initial appearance.

IT IS ORDERED: The United States Marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States Marshal for that district, or to another officer
authorized to receive the defendant. The Marshal or officer in the charging district should immediately notify the United
States Attorney and the Clerk of Court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.

 

    

Thursday, March 12, 2020

Date GARY M. PURCELL
UNITED STATES MAGISTRATE JUDGE

 

 

SR-10-2019
